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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            August 30, 2018
                   IN THE UNITED STATES DISTRICT COURT
                                                                           David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                §
                                        §
vs.                                     §          CASE NO. 4:17-CR-431
                                        §
STEPHEN LYNCH                           §


                                      ORDER

       Upon consideration of Defendant’s Motion for Leave to File Out-of-Time

Objections to the Presentence Investigation Report, the motion is hereby GRANTED.



       Signed at Houston, Texas, on ______________________________,
                                      August 30                     2018.



                                                _______________________________
                                                NANCY ATLAS
                                                UNITED STATES DISTRICT JUDGE
                                                         NAN Y F. ATLAS
                                                SENIOR UNI   STATES DISTRICT JUDGE




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